209 F.3d 940 (6th Cir. 2001)
    Philip R. WORKMAN, Petitioner-Appellantv.Ricky BELL, Warden, Respondent-AppelleePhilip R. Workman, Movant
    No. 96-6652, 00-5367
    United States Court of Appeals, Sixth Circuit.
    April 4, 2000
    
      Before: MARTIN, Chief Judge; MERRITT, BOGGS, NORRIS, SUHRHEINRICH, SILER, BATCHELDER,  DAUGHTREY, MOORE, COLE, CLAY and GILMAN, Circuit Judges.
    
    ORDER
    
      1
      A majority of the Judges of this court in regular active service have voted for rehearing of this matter en banc. Pursuant to Sixth Circuit Rule 35(a) it is ORDERED that the court's order of March 31, 2000 is vacated and the matter is restored to the court's active docket.
    
    
      2
      It is further ORDERED that the petitioner shall file a supplemental brief not later than Monday, April 17, 2000, and the respondent shall file a supplemental brief not later than Monday, May 1, 2000. The Clerk will schedule the matter for oral argument at the earliest practicable date as directed by the court.
    
    
      3
      The motion for a stay of the execution scheduled for April 6, 2000 is GRANTED, such stay to remain in effect until further order of the court.
    
    